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A NEVADA LAW FIRM

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Case 2:18-CV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 1 of 13

THOMAS E. WINNER

Nevada Bar No. 5168

ATKIN WINNER & SHERROD
1117 South Rancho Drive

Las Vegas, Nevada 89102

Phone (702) 243-7000

Facsimile (702) 243-7059
twinner@awslawvers.com

Attorneys for Defendant
National General Insurance Company

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
EARNEST PLATT, CASE NO.:
DEPT. NO.:
Plaintiff,
vs. PETITION FOR REMOVAL

NATIONAL GENERAL INSURANCE
COMPANY, DOES l-X, and ROE
CORPORATIONS l-X, inclusive,

 

Defendants.

 

Defendant, NATIONAL GENERAL INSURANCE COMPANY, now petitions this
Court for the removal of the above entitled case from the Eighth J udicial District Court of Clark
County, Nevada, where it is now pending, to the United States District Court for the District of
Nevada in Las Vegas pursuant to 28 U.S.C. Sections 1332 and 1441(a) et seq.

As part of this petition, Defendant/Petitioners shows the Court the following:

l.

Plaintiff commenced the above captioned matter in the Eighth J udicial District Court for
the State of Nevada in and for the County of Clark as Case Number A-17-764747-C (Department
XIV) on November 15, 2017.

II.
Plaintiff effectuated service of the Complaint onto the NevadavDivision of Insurance on

December 12, 2017. Defendant received a copy of said Complaint on December 12, 2017. A

Page 1 of 3

 

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Case 2:18-CV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 2 of 13

copy of Plaintiff’ s Complaint setting forth the claims for relief upon which the action is based is
attached hereto along with the appropriate copies of process and by this reference made a part
hereof.

III.

The DOE Defendants in this action have not been identified lt is anticipated that DOE
Defendants, if later identified, will be residents of states other than Nevada, and that complete
diversity will be maintained

IV.

This is a civil action for Breach of Contract, Breach of Covenant of Good Faith/Insurance
Bad Faith, violation of Unfair Claims Practices Act, and Negligent and/or Intentional
l\/Iisrepresentation stemming from a motor vehicle accident that occurred on November 12, 2014.
Plaintiff seeks recovery of compensatory damages, general damages including medical specials,
incidental damages, loss of earning and earning capacity, and exemplary or punitive damages

V.

PlaintifF s insurance policies through the aforementioned Defendant had a policy limit of

$250,000/$500,()00 in uninsured/underinsured coverage
Vl.

This Court has original jurisdiction under 28 U.S.C. Section 1332(a) based on diversity of

citizenship
VII.

Upon information and belief, Plaintiff was at the time of the commencement of this

action and since that time, is an individual citizen, and resident of the State of Nevada.
VIII.

At the time of the commencement of this action and since that time, Defendant
NATIONAL GENERAL INSURANCE COMPANY, was/is incorporated in the State of North
Carolina with their principle place of business in the North Carolina.

IX.

Page 2 of 3

 

 

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Case 2:18-cV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 3 of 13

Accordingly, none of the defendants are citizens of the State of Nevada, where this action

was brought.
X.

Defendant, NATIONAL GENERAL lNSURANCE COMPANY, joins in and consents to

the removal of this action pursuant to 28 U.S.C. 1446(b)(2)(A).
XIII.

Plaintiff served the Complaint to the Nevada Division of Insurance on December 12,
2017. Defendant received the aforementioned Complaint on December 12, 2017, as supported by
the attached Proof of Service. As a result, this Petition for Removal is timely filed under 28
U.S.C. Section 1446(b).

DATED this ‘ day Ofianuary, 2018.

ATKlN WINNER & SHERROD

Thomas E. Winner
Nevada Bar No. 5168
1117 South Rancho Drive
Las Vegas, Nevada 89102
Attorneys for Defendant

Page 3 of 3

 

Case 2:18-cV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 4 of 13

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Case 2:18-cV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 5 of 13

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Steven D. Grierson

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COMP MB~

BRYAN H. BLACKWELL, ESQ.

Nevada Bar No. 12558

RICHARD HARRIS LAW FIRM

801 South Fourth Street

Las Vegas, Nevada 89101

Phone: (702) 444-4444

Fax: (702) 444-4455

E-mail: bryan.blackwell(iigrichardharrislaw.com
Attorneysfor Plaintijjr

 

DISTRICT COURT
CLARK COUNTY, NEVADA
EARNEST PLATT, _ _ -
CASENO.: A17 754747 C
Plaintiff DEPT. NO.i' Department 14
vs.
NATICNAL GENERAL B\ISURANCE COMPLAINT

COMPANY, DOES I- X, and ROE
CORPORATIONS I- X, inclusive,

 

 

 

_ _ _' Defendants.

7I’L,A,Il\i',l'IFF’S COMPLAINT
Plaintiff, EARNEST PLATT by and through his attorneys, BR_YAN H. BLACKWELL,
ESQ, of the RICHARD HARRIS LAW FIRM and for his causes of action against Defendants,
and each of them, hereby complaint and alleges as follows:
GENERAL ALLEGATIONS
l. That at all times relevant to these proceedings, Plaintiff, EARNEST PLATT,
was and is a resident ofNebraska
/ / /
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/ / /

Case Number; A-17-764747-C

 

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Case 2:18-cV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 6 of 13

2. ’l`hat Defendant NATIONAL GENERAL INSUR.ANCE COMPANY,
(hereinafter “Defendant”) was at all times mentioned herein, a corporation, doing business in
the State ofNevada.

3. That the true names and capacities of the Defendants designated herein as Doe
or Roe Corporations are presently unknown to Plaintiff at this time, Who therefore sue said
Defendants by such fictitious names. When the true names and capacities of these defendants
are ascertained, Plaintiff will amend this Complaint accordingly

4. That at all times pertinent, Defendants Were agents, servants, employees orjoint
venturers of every other Defendant herein, and at all times mentioned herein were acting
within the scope and course of said agency, employment, or joint venture, with knowledge and
permission and consent of all other named Defendants.

5. That Plaintiff EAR_NEST PLATT Was the owner and operator of a 2013 GMC
SIERRA (the “Vehicle”).

6. That on November 12, 2014, in Clark County, Nevada, Plaintiff was struck by a
third-party driver and sustained serious injuries while operating the Vehicle.

7. That as a direct and proximate result of the negligence of the third-party driven
Plaintiff sustained bodily injuries all or some of which condition may be permanent and
disabling, and all to Plaintift’s damage in a sum in excess of $15,00(}.

8. That as a direct and proximate result of the negligence of the third-party driver,
Plaintiff received medical and other treatment for the aforementioned injuries, and that said
services, eare, and treatment are continuing and shall continue in the future, all to the damage
of Plaintiff.

9. That as a direct and proximate result of the negligence of the third-party drivcr,
Plaintiff has been required to, and has limited occupational and recreational activities, which
have caused and shall continue to cause Plaintiff loss of earning capacity, lost wages, physical
impairment, mental anguish, and loss of enjoyment of life, in a presently unascertainable

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Case 2:18-cV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 7 of 13

1 10. The third-party driver paid its represented insurance limits to Plaintiff

2 11. That Plaintiff purchased an automobile insurance policy (the “Policy”) policy

3 number 20025493 87 from Defendant, which provided uninsured/underinsured motorist
5 insurance as well as medical payments coverage insurance to Plaintiff.

6 12. That following the accident with the third-party driver, and after determining
7 that the third-party driver had insufficient policy limits to cover Plaintift"s injuries, Plaintiff
8 demanded the uninsured/underinsured policy limit payment as well as the full amount of

9 Plaintist incurred medical specials from Defendant

 

10 13. That Defendant refused to make adequate payment to Plaintiff as was required
11 under the Policy.
§ 12 14. That Plaintiff has been required to engage the services of an attorney, and
; 13 accordingly, have incurred attorney’s fees and costs to bring this action.
§§ 14 FIRST CAUSE OF ACTION
15 15. Plaintiff repeats and re-alleges the allegations contained in Paragr~aphs 1 through

16 14 as if fully set forth herein.

17 16. 'l`hat Plaintiff and Defendant were bound by a contractual relationship pursuant

 

18 to the Policy.

19 17. That the actions ot` Defendant, as described herein, constituted a breach of
20 contract between itself and Plaintiff, and as a direct result thereof, Plaintiff has been damaged
21 in a sum in excess of 815,000.00.

22 SECOND CAUSE OF ACTlON

23 18. Plaintiffs repeat and re-alleges the allegations contained in Paragraphs 1 through
24 17 as if fully set forth herein.

25 19. Pursuant to the contractual arrangement between the parties, Defendant was
26 obligated to pay Plaintiff for damages received and medical expenses incurred as a result of
27 any accident with an underinsured motorist

28 20. Retaining amounts it was required to pay pursuant to the contractual agreement

 

 

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Case 2:18-CV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 8 of 13

has unjustly enriched Defendant

21. The actions of Defendant as described herein, constituted unjust enrichment at
Plaintift’ s expense, and as a direct and proximate result thereof, Plaintiff has been damaged in
a sum in excess of $15,000.00.

WHEREFORE, Plaintiffs, expressly reserving rights to amend this Complaint prior to
or at the time of trial of this action to insert those items of damage not yet fully ascertainable,

prays judgment against the Defendant, and each of them, as follows:

l. For general damages sustained by Plaintiff in an amount in excess of 315,000;
2. For special damages sustained by Plaintiti" in an amount in excess of $ l 5,000;
3, For reasonable attorneys fees and costs of suit;

4. Interest at the statutory rate;

5. For such other relief as the Court deems just and proper.

DATED THIS 15 day ofNovember, 2017.

RICHARD HARRIS LAW FIRM

/s/ Bryan H. Blackwell

 

Bryan H. Blackwell, Esq.
Nevada Bar No. 12998
301 s. 4TH street

Las Vegas, Nevada 89101
Az‘torneyfor Plaintiff

 

 

Case 2:18-CV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 9 of 13

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Case 2:18-cV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 10 of 13

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PROOF OF SERVICE
I hereby declare that on this day l Served a copy of the Sumrnons and Complaint upon
the following defendant in the within matter, by shipping a copy thereof, via Certified mail,

return receipt requested, to the following:

National General Insurance Company

Attn: Sally Hall, Claims Compliance Manager

P.O. Box 3199

Winston Salem, NC 27102-3199

CERTIFIED MAIL NO. 7016 3010 0000 0484 1911

Ideclare, under penalty of perjury, that the foregoing is true and correct

DATED this 13‘h day of December, 2017.

tiaaa¢&@

RHONDA KELLY

Employee of the State of`_) Nevada
Departrnent of Business and Industry
Division of Insurance

RE: Earnest Platt vs. National General Insurance Company, et al,
District Court, Clarl< County, Nevada
Case No. A-l7-764747-C

 

 

 

Case 2:18-cV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 11 of 13

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SUMM
District Court
CLARK COUNTY. NEVADA
EARNEST PLATT, CASE No. A-17-764747-C
DEPT. NO. XIV
Plaintiff(s),
-vs-

NATIONAL GENERAL INSURANCE COMPANY,

DOES l- X, and ROE CORPORATIONS I- X, SUMMONS

inclusive,

to National General Insurance Company

 

Defendant($),

 

NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE ACAINST YOU WITHOUT YOUR BEING HEARD
UNLESS YOU RESPOND WITHIN 20 DAYS. READ THE INFORMATION BELOW.

TO TH_E DEFEN|)ANT(S): A civil Complaint has been filed by the Plaintiff(s) against you for the relief set forth in the Complaint

National General Insurance Company

¥.

If you intend to defend this lawsuit, within 20 days after this Summons is served on you exclusive of the day of
service, you must do the following:

(a) File with the Clerk of this Court, whose address is shown belcw, a formal written response to the
Complaint in accordance with the rules of the Court, with the appropriate filing fee.
(b) Seive a copy of your response upon the attorney whose name and address is shown below.

   

 

 

 

2. Unless you respond, your default will be entered upon application of the Plaintiff(s) and failure to so respond Will
result in ajudgrnent of default against you for the relief demanded in the Complaint, which could result in the taking
of money or property or other relief requested in the Complaintl

3. If you intend to seek the advice of an attorney in this matter, you should do so promptly so that your response may
be filed on time.

4. The State ot'Nevada, its political subdivisions, agencies, otticers, employees, board members, commission members
and legislators each have 45 days after service of this Surnmons Within Which to tile an Answer or other responsive
pleading to the Complaint

STEVEN 1). Gl§l _ t
Subrnitted by: CLERK ()!Y",C{~}l v

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/s/ Travis H. Dunsrnoor g ‘ Josefina Sa`n guam 12/8/2017
TRAvrs H. DUNSMOoR, ESQ. l-"nr;t>t»,rt‘rt:t,;sruc pate
Nevada Bar No: 131 l 1 1 Regional justice Center _
RICHARD HARRIS LAw FIRM 200 _Lca-zs',tv¢nue . - . *-
801 south 4"‘ street Las Vagas_.:rrv.s§ls:§f *
Las Vegas, NV 89101
702-444-4444
Attorneysfor Plaintiij

Case Number: A-17-7B4747-C

Case 2:18-CV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 12 of 13

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Case 2:18-CV-00067-RFB-CWH Document 1 Filed 01/11/18 Page 13 of 13
1344 (R"O"’/"> CIVIL COVER SHEET

Tlie ._IS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules ot'court. This form, approved by the .ludicial Cont`erence ofthe United States in September 1974, is required for the use ofthe Clerk of Court for the
purpose of initiating the civil docket slieet. (Sl£/;` INS'l'Rl/C'/'IONS ()N NEX'/`PAGE OF '/'HIS /<`()RAr/.)

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(b) County of Residence ofFirst Listed Plaintiff Clal‘k County ofResidence of First Listed Defendant north CarOiina
(EXCEPT/N U.S. P[A/N77FF CASE$ (lN U.S. [’[.A[NYY["F CASES UNLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(C) At'[Ol’neyS (]i`irm Name, Add/'e.r.i', and Telep/ione Nimibe)j AttOl'nP/}’S (1/K'10Wl1}
Travis Dunsmoore, Richard Harris Law Firm, 801 South Fourth Street, Thomas E. Winner, Atkin Winner & Sherrod, 1117 South Rancho
Las Vegas, Nevada 89101; (702) 444-4444 Drive, Las Vegas, Nevada 89102; (702) 243-7000
II. BASIS OF JURISDICTION (P/ace an "X" in Olie Bl).\' ()n/y) III. CITIZENSHIP OF PRINCIPAL PARTIES (P/ace an “X" in O)ie Bl)x_/'o/‘P/a/`m(ff
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Plaintiff (U.S. Goverlmienl No/ a l’ar'ly) Citizeli oleiis State g 1 [] 1 Ilicoiporated 0/‘ Priiicipal Place [1 4 Cl 4
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Cl 2 U.S. Govemineiit g 4 Diversity Citizeii ofAiiotliei' State U 2 1'_'1 2 Iiicoi'porated and Principal Place D 5 13 5
Defendant (l/id/'ca/e Ci/l'zens/i/p of /’arll'e.\' i/i llem I]l) of Business ln Aiiotlier State
Citizeii or Siibject ofa ij 3 Cl 3 Forcign Nation |:1 6 D 6
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IV. NATURE OF SUIT (P/ace an "X" iii One Bax On/y) Click here for: Nature of Suit Code Deseriptions.
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(Excludes Vetei'ans) |:l 345 Marine Pi'oduet Lial)i|ity |:1 840 Tradeniark Corrupt Organizations
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ij 160 Stockholders’ Suits Cl 355 Motor Vehicle D 371 Ti‘utli iii Lending Act |:l 862 Black Liiiig (923) D 850 Secui'ities/Commodities/
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CI 196 Fi'aiicliise Injury U 385 Property Damage 0 740 Railway Labor Act ij 865 RSI (405(g)) 111 891 Agiicultural Acts
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Cl 240 Torts to Laiid El 443 Housing/ Senteiiee 26 USC 7609 Ageney Deci`sioii
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Cite the U.S. Civil Stafute under Which you are f 11ng (Do not cite jurisdictional statutes unless diversify);
28 U.S.C.1332 and 28 U.S.C. 1441
Brief description of cause:

Breach of Contract/Bad Faith

VI. CAUSE OF ACTION

 

 

 

 

 

VIl. REQUESTED IN El Ci-iECi< iF Ti-iIS is A CLASS ACTION DEMAND $ CHECK YES Only ifdemand€d in Complaint

COMPLAINT: UNDER RULE 23, F.R.Cv.P. /, JURY DEMAND: El Yes misc
vIII. RELATED CASE(S) ( ) /

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IF ANY
JUDGE g /z/é ii xii j g j n DOCKETNUMBER " WW

DATE sicNM
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

